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IN THE UNITED STATES DISTRICT COURT
FORTHE WESTERN DISTRICTOFNEW YORK

I.INITED STATES OF AMERICA,

                       Plaintifi



$60,438 UNITED STATES CURRENCY,

                       Defendant.


                      \.ERIFIED COMPLAINT FOR FOR-FEITUR-E

       The United States of America, by and through its attomey, Trini E. Ross, United

States Attorney for the Westem District of New York, and Mary Clare Kane, Assistant

United States Attomey, of counsel, for its verified complaint herein alleges as follows:


                                    CAUSEOFACIION

       l.       This is an action bt ren plorsuartt to Title 21, United States Code, Section

881(a)(6) for the forfeiture ofthe sum of$60,438 in United States currency (hereinafter "the

defendant currency"), which was seized from John Cox on or about May 1,2023.


       2.       This Court has subject matter jurisdiction of this action pursuant to the

provisions of Title 28, United States Code, Sections 1345 and 1355(a), and in rem jwisdiaion

pursuant to Title 28, United States Code, Sections 1355@) and 1355(d). Venue is properly

premised in the Westem District of New York pursuant to Title 28, United States Code,

Section 1395.


       3.       On May l,2023,Iaw enforcement officers from the Erie County Sheriffs
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Office, along with the Homeland Security Investigations Border Enforcement Task Force,

seized the defendant curency from John Cox during a trafiEc stop of a 2021 Nissan Titan

pickup truck, bearing Florida license plate QZR-T77, which had been rented from Avis, a car

rental company. The defendant curency was seized on the basis that it was fumished, or

intended to be fumished, in exchange for a controlled substance, as proceeds traceable to

exchanges ofcontrolled substances, and had otherwise been used, or was intended to be used,

to facilitate a violation of Title 21, United States Code, Section 841 et. wq.


       4.      The defendant curency was processed and deposited into the U.S. Customs

and Border Protection Suspense Account in the Westem District of New York, where it will

remain until the conclusion ofthejudicial forfeiture proceedings.


                            RELEVANT FOR-FEITURE AUTHORITY


Title 21, United States Code, Section 881:


(a) Subject property

   The following shall be subject to forfeiture to the United States and no property right shall
   exist in them:



       (6) All moneys, negotiable instruments, securities, or other things of value fumished
            or intended to be fumished by any person in exchange for a controlled
            substance or listed chemical in violation of this subchapter, all proceeds traceable
            to such an exchange, and all moneys, negotiable instruments, and securities used
            or intended to be used to facilitate any violation of this subchapter.




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                                 BASIS FOR FORFEITT'RE

       5.      Homeland Security Investigations ("HSI") Border Enforcement Task Force

C'BEST") conducted an investigation into narcotics trafficking in Westem New York during

which HSI BEST agena intercepted the communications of various targets, including John

Cox (hereinafter "claimant") and a cocaine source of supply referred to herein as "C.W."

Based upon certain recorded conversations between claimant and C.W., the agents leamed

that claimant planned to drive from the Orlando, Florida area to the Buffalo, New York area

on or about May l, 2023 to purchase controlled substances. The agents believed that claimant

would be carrying U.S. currency with him in order to purchase cocaine from C.W. in Buffalo,

New York.


       6.      The following are excerpts of the recorded calls befween claimant and C.W.:


            a. On or about March 28, 2023, during a telephone call with C.W., claimant
               stated, "So ...[ ] do I take half or you want me to take the whole thing?" to
               which C.W. replied, "It's up to you. It would be worth it if you were selling the
               [Unintelligible]. " Claimant then stated, "So then would you for twenty-three?"
               fYour affiant believes that the reference to "twenty-three" is a reference to
               $23,000 dollars for a kilo of cocainel.



            b. On or about April 2,2023, during a recorded telephone call with C.W.,
               claimant stated, "Man, you gotta throw me a number though, so I can put this
               shit together. I don't just walk around with...[.]" C.W. responded, "I told
               you, Michael Jordan." [Your affiant believes that the reference to "Michael
               Jordan" is a reference to Michael Jordan's jersey number - 23 - which is in tum
               a reference to $23,000 dollars.l Claimant then stated, "Yeah, cool. I use to
               walk around, but you know, Fifty (50) on me, hundred (100) bands is over, I
               ain't doing that no more [chuckles]. "



            c. On or about April 2,2023, during a recorded telephone call with C.W.,
               claimant stated, "I'm... I'm at home too, that works out 'cause I got the bread.




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                  A'ight, so let me put some bread together, see what I want to do." fYour affiant
                  believes that the reference to "bread" is a reference to money.]


               d. On or about May , 2023 , during a recorded telephone call with C. W. , claimant
                                      1

                  stated, "Okay, I'll call you in a little bit, then. I'11 call you in like five (5) hours,
                  or something. "



       7   .      Based upon other information gathered during the investigation, agents leamed

that claimant was in the Orlando, FL Nea. Based on cell cite and other information, agents

leamed that claimant used cellular phone number (352) 931-####. Agents also leamed that

the claimant rented a whtte 2021 Nissan Titan pick-up truck bearing Florida license plate

QZP.-T77 from Avis and that the claimant was driving to Westem District of New York to

meet c.w.


       8.         On or about May l, 2023, HSI BEST and Erie County Sheriffs Office

("ECSO) set up surveillance on the New York State Thruway, I-90 Eastbound ar rhe New

York/Pennsylvania state line. At approximately 3:00 p.m., on May 1, 2023, law enforcement

observed the white 2021 Nissan Titan pick-up truck bearing Florida license plate QZR-T77

(hereinafter "the vehicle") on the I-90 East.


       9. Surveillance of the vehicle continued for approximately 40 minutes. ECSO
deputies thereafter initiated a traffic stop of the vehicle on the I-90 East near Sturgeon Point

Road at approximately 3:40 p.m..


       10. After the vehicle was pulled over, ECSO deputies approached the vehicle and
encountered two male individuals, one of whom was John Cox, the claimant.




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          ll.     During the cource of the traffic stop, the claimant informed the agents, in sum

and substance, *rat two guns were in the vehicle along with about $50,000 in U.S. currency.


          12. Thereafter, a United States Border Patrol Agent who is a certified narcotics K-
t handler and his drug detection dog "Shanti." Reported to the scene. Shanti isa certified
narcotics canine who receives about 16 hours of training per month and is re-certified every

year, arrived at the scene. Shanti is capable of detecting presence of marijuana, cocaine,

methamphetamine, heroin, ecstasy and their derivatives. Shanti was exposed to the outside

ofthe vehicle and sniffed the exterior ofthe vehicle. Shanti positively alerted to the presence

of controlled substances within the vehicle.

          13. Subsequently, ECSO deputies searched the vehicle. Inside the vehicle, ECSO
deputies s found a pillowcase, containing a number of pouches/bags that contained the

defendant currency. Additionally, two fuearms and a small bag of marijuana were also found

inside the vehicle.


          14. Upon seizure ofthe pillowcase and its contents, ECSO deputies discovered the
defendant curency bundled in rubber bands and inside pouches or other containers as

represented in certain photographs below:




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        15. A total of $60,438 in U.S. curency was seized from the vehicle. The defendant
curency was comprised of $100, $20, $10, $5, and $l bills, rubber banded in individual

bundles.


        16. The denominations ofthe defendant currency were as follows:

       Denominations                          Number of Bills                      Total


       $100                                   l0                                   $ 1,000


       $20                                    2,739                                $s4,780

       $10                                    250                                  $2,s00

       $s                                     300                                  $1,s00

       $l                                     658                                  $6s8



       17. Based upon training and experience of law enforcement, , the abundance of
twenty-dollar bills is significant because small denominations (such as twenty-dollar bills) are

more commonly used than any other denominations in street level narcotics trafficking.

Notably, narcotics dealers often conduct their transadions in cash, and transport the cash in

bundles of secured by rubber bands which are secreted or hidden in a number ofways.

       18. The defendant curency was seized because there is a reasonable belief the
defendant currency was fumished, or intended to be fumished, in exchange for a controlled

substance, was proceeds traceable to such an exchange(s) of controlled substances, and as

funds used, or was intended to be used, to facilitate a violation of Title 21, United States Code,

Section 841 et. seq. (fafficUlrllg of controlled substances).




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                      INITIATION OF CI\'IL JI]DICIAL ACTION

       19. On or about Jwre 1,2023, Herbert L. Greenman, Esq., submitted a claim of
ownership on behalf of John Cox, to the U.S. Customs and Border Protection to halt the

administrative forfeiture proceedings and for the institution ofjudicial forfeifure proceedings.

No supporting documents were included with the claim.


                     CONCLUSION AND REQUEST FOR RELIEF


       20. Based on all ofthe foregoing facts, the circumstances surrounding those facts,
and the experience and training ofthe officers and agents involved in the investigation leading

to the seizure of the defendant curency, there is a reasonable belief that the defendant

curency was fumished, or intended to be fumished, in exchange for a conrolled substance,

was proceeds traceable to such an exchange(s) ofcontrolled substances, and violated Title 21,

United States Code, Section 841 et. seq. and, therefore, the defendant cuffency is subject to

forfeiture pursuant to Title 21, United States Code, Section 881(a)(6).


       WIIEREFORE, the United States of America respecffi.rlly requests:

       (1)    that an arrest wafiarrt in reffibe issued for the arrest of the defendant currency;

       (2)    that all persons having any interest therein be cited to appear herein and show
              cause why the forfeiture should not be decreed;

       (3)    that a judgment be entered declaring the defendant currency be condemned and
              forfeited to the United States of America for disposition in accordance with the
              law;

       (4)    that the costs of this suit be paid to and recovered by the United States of
              America; and

       (5)    that the Court grant such order and further reliefas deemedjust and proper




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DATED: Buffalo, New York, Auglst 2, 2023.
                                           TRINI E. ROSS
                                           United States Attomey
                                           Westem District of New York

                                   By:
                                           -'filWACpa-le
                                           MARYCLAREKANE
                                           Assistant United States Attomey
                                           United States Attomey's Office
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Ms. Katie Glover
2023 Summer Law Clerk
Assisted in Preparation of the Complaint




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STATE OF NEW YORK )
COUNTY OF ERIE     )                ss.:
CITY OF BUFFALO   )


       FRANK ZABAWA, being duly swom, deposes and says:

       I am a Special Agent with Homeland Security Investigations, Buffalo New york, and
I am familiar with the facts and circumstances surrounding the seizure of the $60,438 in
united States currency seized from JOHN coX on or about May 1,2023. The facts alleged
in the Complaint for Forfeiture are true to the best of my knowledge and belief and based

upon my personal knowledge and information fumished to me by officers and agents of the

Homeland Security Investigations Border Enforcement Task Force, Erie county Sheriffs

Office, and provided to officials of the United States Department of Justice.




                                                  FRANKZABAWA
                                                  Special Agent
                                                  Homeland Security Investigations

Subscribed and swom to before me
thisab"l of August, 2023



     I LoTem
        Public, State of New York
Qualified in Erie County
My Commission Expires Jvne 30,2026
